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                  EXHIBIT “A”
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               ~Ir. Crnie Mo1 ir1c1
               \.lamer-Jenkinson Cor.rany of Cal 'ifornia
               P.O. Dox 167$7
               Irvine, California 92713
              .Dear Hr. Molina:
                                                                                         ..
               This is 1n rep1y to your letter of January 17. 19~0 concerning the
                                             -
               1abe1ing of ~i11a flavoring \·lith other natura1 flavor-s.
              A flavorin~ co□~osed of S~~ v2ntlla extract and 50~ natu~n1 flavon
              not derived fror.i van111a beans 1r.tende<l for rctaii sale m3y b-e-icfan ...
               tiffed as "vanfl1a flavor wfth other nntur~l flavorsti. Ho'n'ever,
              because 11 vani11a extract" and "vanilh''fLwor1nq" are standardi,:cd
              foC'ds and thrse products i\re expensive \-1e bc1ieve 1n order to dis-
              tinguish this product froiil other s1mi1 ar products the genera1 prfnc1p1~s
              of 21 CFR FR 102.5 s~ou1d apply. ·Thus. the name ~hou1d be accor.ipuni~d
              t,y 11 contains 50:~ vanf11a cxtrc1ct and 50~ r.on-vJnil1a flnvors" •

... ~ -·· . ··-·s1nc-e
                    th'fs'product'·is to be sol<i ut rctui1 it r.1t1st cor.tply H1th the?
            · applicable 1ttb~lin~ requirc:,":ents of 21 cr-r. 101. These provisions
              would rc:iuiro ':\t a r.,Jnir:illm that the label for the food. bear: (1)
              ~n i~cntity st~te□ ent; (2) nn accurate n~t contents dec1aration;
              (3) a lfstfno of each ingredient in the fond by 1ts cormon or usua1
             nan~ in dcsccndir.~ ord!)r of rredominanc:e by Height; anc! (~) th~
             na~ <tnd address of the nanuf2",Cturer. pc1c!:er or distrihutor.
              If we can he of further assistance, please 1et us knm~.


                                                                                    . '·!
                                                      Sincerely your-s,
                                                                                    .....
                                                                                    ·!      '.
                                             ,,. ..   T~y1 or M. Quinn
                                                      AssociDte Director
                                                        for Corrip1iance
                                                      Durcau of Foods
